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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                      §
                                              §
                                              §
                                              §
VS.                                           §   CRIMINAL NO. H-05-337, 1 and 3
                                              §
                                              §
ANGELA ARMSTRONG                              §
DEBBIE RAMCHARAN                              §

                                          ORDER

       The attached Court’s Instructions to the Jury at Conclusion of Trial was charged to

the jury on even date and is to be entered in the record.

              SIGNED on June 16, 2007, at Houston, Texas.


                                            ______________________________________
                                                       Lee H. Rosenthal
                                                  United States District Judge
